Case 1:12-cr-00323-WSD-CMS Document 21 Filed 02/08/13 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
UNITED STATES OF AMERICA, )
Plaintiff,
V. 1:12-CR-323-WSD
EDWARD K. KIM )
Defendant.

DECLARATION OF PUBLICATION
In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal Rules
of Criminal Procedure, notice of the forfeiture was posted on an official government internet
site (www.forfeiture.gov) for at least 30 consecutive days, beginning on January 09, 2013

and ending on February 07, 2013. (See, Attachment 1).

I declare under penalty of perjury that the foregoing is true and correct. Executed on

February 08, 2013 at Atlanta, GA.

 

 

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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION
COURT CASE NUMBER: 1:12-CR-323-WSD; NOTICE OF FORFEITURE

Notice is hereby given that on January 03, 2013, in the case of U.S. v. EDWARD
K. KIM, Court Case Number 1:12-CR-323-WSD, the United States District Court for the
Northern District of Georgia entered an Order condemning and forfeiting the following
property to the United States of America:

One Smith & Wesson .38 Revolver and Ammunition (12-FBI-007559) which was
seized from Edward K. Kim on August 20, 2012 at 4920 Roswell Road, located in
Atlanta, GA

The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any
person, other than the defendant(s) in this case, claiming interest in the forfeited
property must file a Petition within 60 days of the first date of publication (January 09,
2013) of this Notice on this official government internet web site, pursuant to Rule 32.2
of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The petition
must be filed with the Clerk of the Court, 75 Spring Street S.W., Suite 2211, Atlanta, GA
30303, and a copy served upon Assistant United States Attorney Dahil D. Goss, 75
Spring Street S.W., Suite 600, Atlanta, GA 30303. The petition shall be signed by the
petitioner under penalty of perjury and shall set forth the nature and extent of the |
petitioner's right, title or interest in the forfeited property, the time and circumstances of
the petitioner's acquisition of the right, title and interest in the forfeited property and any
additional facts supporting the petitioner's claim and the relief sought, pursuant to 21
U.S.C. § 853(n).

Following the Court’s disposition of all petitions filed, or if no such petitions are
filed, following the expiration of the period specified above for the filing of such
petitions, the United States shall have clear title to the property and may warrant good
title to any subsequent purchaser or transferee.
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Advertisement Certification Report

 

The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between January 9, 2013 and February 07, 2013. Below is a summary report that identifies the uptime for
each day within the publication period and reports the results of the web monitoring system’s daily check
that verifies that the advertisement was available each day.

U.S. v. EDWARD K. KIM

Court Case No: 4:12-CR-323-WSD
For Asset ID(s): See Attached Advertisement Copy

01/09/2013 . Verified

Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
